          Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 1 of 70 Page ID #:1



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        FULL NAME                                                                                                 -~' -s
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        COMMITTED NAME (if different)                                                                         ~.~"'          ~
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        PRISON NUMBER (if applicable)
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                                                 UNITED STATES DISTRICT COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
                                                                        CASE NUMBER

                                                                                                To   s   ie       C     k

                                                         PLAINTIFF,                                                                               w ~~
                               `'•                                    CIVIL RIGHTS COMPLAINT                   ~o
      ~QSC L=SQt/fTt~✓r~' ~{Jf~rLL~ (F,~/U~'Q%/~L~Q                                     (CheckoneJ
                                                                          PURSUANT   TO
    (F~,/~J' Rr✓rQ~ CF,uu~• rlE,er.•cr~t CG~,~y /
                                                            ❑ 42 U.S.C. ~ 1983
                           ~ ~• F~sr'~~,~u~j- DEFENDANT(S).
     CF~/~` 5ohns`ta~l LFnicr)                  ~~ P"~oK    ~
     CEtN CF~v~; l~~trly( N'-1J ~ Rt~~~YIS LFNu~              Bivens v. Six Unknown Agents 403 U.S. 388 C1971)

    A. PREVIOUS LAWSUITS

            1. Have you brought any other lawsuits in a federal court while a prisoner: ❑Yes ,~ No

           2. If your answer to "1." is yes, how many?

                 Describe the lawsuit in the space below. (If there is more than one lawsuit, describe the additional lawsuits on an
                 attached piece of paper using the same outline.)




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                                                          CIVIL RIGHTS COMPLAINT
    CV-66 (7/97)                                                                                                                    Page 1 of 6
   Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 2 of 70 Page ID #:2


         a. Parties to this previous lawsuit:
            Plaintiff


              Defendants


         b. Court


         c. Docket or case number
         d. Name ofjudge to whom case was assigned
         e. Disposition(For example: Was the case dismissed? If so, what was the basis for dismissal? Was it
              appealed? Is it still pending?)
        f. Issues raised:




         g. Approximate date offiling lawsuit:
         h. Approximate date of disposition


B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

     1. Is there a grievance procedure available at the institution where the events relating to your current complaint
        occurred? .~[ Yes ❑ No

    2. Have you filed a grievance concerning the facts relating to your current complaint?                   Yes      ❑ No

        If your answer is no, explain why not




    3. Is the grievance procedure completed?              Yes    ❑ No

        If your answer is no, explain why not



    4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION

    This complaint alleges that the civil rights of plaintiff lift-C/t,~E (~E~~}r~v TEmPLrTo.•/
                                                                                            (print plaintiffs name)

    who presently resides at 1OS`J~ Ga/~rr~~~rt~J Jc7U• ~dX ~~ a3; Co%r+~ ~✓/, ~~ 33 ~ ~l                                            ,
                                                                (mai mg~a dress or p ace o con mement

    were violated by the actions of the defendants) named below, which actions were directed against plaintiff at
   t/SP Vie forv~//P ,~cle ~ar~~o                         ~'a.
                                                (mstit
                                                     ~t     ity w ere v~olat~on occurred)


                                                     CIVIL RIGHTS COMPLAINT
CV-66(7/97)                                                                                                                  Page 2 of6
    Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 3 of 70 Page ID #:3




    on (date or dates) ~T~/T /8~ ZQi~                                               ,
                                   ( laim I)                       (Claim Il)                  (C aim III)

    1~10TE:     You need not name more than one defendant or allege more than one claim. If you are naming more than
                five(5)defendants, make a copy ofthis page to provide the information for additional defendants.

    1. Defendant        ~ aSt tcS Q,U e f~ i1i ~                                                     resides or works at
                    (             firstTc e~en ant)
                          name o 'T

                        U~"P Vi'~~erviY/~
                    (full address of first defendant)

                      P1~           a            ~>' ~ar~c~
                     a( eten ant s position an t~[ e, i any


         The defendant is sued in his/her(Check one or both): ~I individual       ❑official capacity.

         Explain how this defendant was acting under color of law:




    2. Defendant            ~«/~l~~T                     ~ FPS   N~?h'I~ L✓i?k!'IU~-vv+~ (~~u '~     resides or works at
                    (full name o~~rst de en ant)

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                     (full address of first defendant)

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         The defendant is sued in his/her (Check one or both): ~' individual      ❑official capacity.

        Explain how this defendant was acting under color of law:




    3. Defendant          1~~i~            ~ ~~u~                                                    resides ar works at
                    ( I name of ~rst~et`en ant)
                        LI ~}~ ~~CTO/~//`~I~
                    (full address of first defendant)

                        n/U/Se_
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        The defendant is sued in his/her(Check one or both): J~individual         ❑official capacity.

        Explain how this defendant was acting under color of law:




                                                         CIVIL RIGHTS COMPLAINT
CV-66(7/97)                                                                                                         Page 3 of6
   Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 4 of 70 Page ID #:4




    4. Defendant       ~~I~C~             ~ ~ti'~-1 ~                                              resides or works at
                   (    name o ~rst eten~ant
                       ~/~~ ~~cf~rvill~'
                   (full address of first defendant)

                   !VU~se
                   (defen ant's position and title, if any)


        The defendant is sued in his/her(Check one or both): ~individual         ❑official capacity.

        Explain how this defendant was acting under color of law:




    5. Defendant       ~~~rcSC°/`~ ~                C FN~'~                                        resides or works at
                   (full name of first defendant)


                   (full address of first defendant)

                     C~~~l          Q.~ ~~ ~~~'/Cep -S~UaI /~G~rs/n~ ~/~,¢
                    ~(c eten ant's position and ht~i~ any)

        The defendant is sued in his/her(Check one or both): J~individual        ❑official capacity.

        Explain how this defendant was acting under color of law:




                                                        CIVIL RIGHTS COMPLAINT
                                                                                                                  Page 4 of6
CV-66(7/97)
    Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 5 of 70 Page ID #:5




    on (date or dates),~u ~v l~'; Zv(S~'
                         ~~C( laim I)                    ~         (C aim II)       ~          ( laim III)

    NOTE:       You need not name more than one defendant or allege more than one claim. If you are naming more than
                five(5)defendants, make a copy ofthis page to provide the information for additional defendants.

     1. Defendant                   ~ ~/Il/~                                                         resides or works at
                    (     name of~irst~c efen ant)

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                    (full address of first defendant)

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                    ( e en      is postt~on an tit e, ~ any)


         The defendant is sued in his/her(Check one or both):,~individual         ❑official capacity.

         Explain how this defendant was acting under color of law:




    2. Defendant ~                   o~l (~n 1.~)                                                    resides or works at
                      lull name o ~rst efen ant

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                    (full address of first defendant)

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         The defendant is sued in his/her(Check one or both):~individual          ❑official capacity.

         Explain how this defendant was acting under color of law:




    3. Defendant        ~o~~'       ~ ~~                                                             resides or works at
                    ( Il name o ~rst del

                      L/~s'P` ~i~~-C-~: ~~~
                    (full address of first defendant)

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        The defendant is sued in his/her(Check one or both): ~1 individual        ❑official capacity.

        Explain how this defendant was acting under color of law:




                                                         CIVIL RIGHTS COMPLAINT
CV-66(7/97)                                                                                                         Page 3 of6
   Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 6 of 70 Page ID #:6



    4. Defendant         ~ E~=~✓ L Fn y)                                                                 resides or works at
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                                 fu     ant)
                       2.~ S ~ ✓c~c~o{v~ Cie
                    (full address of first defendant)

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         The defendant is sued in his/her(Check one or both):             individual   ❑official capacity.

         Explain how this defendant was acting under color of law:




    5. Defendant      ~2~~~/ ('~~7U)                                                                     resides or works at
                    (full name of first defendant)

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                    (full address of first defendant)

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         The defendant is sued in his/her(Check one or both): ~I individual            ❑official capacity.

         Explain how this defendant was acting under color of law:




                                                          CIVIL RIGHTS COMPLAINT
CV-66(7197)                                                                                                             Page 4 of6
    Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 7 of 70 Page ID #:7


D. CLAIMS*
                                                          CLAIM I
     The following civil right has been violated:
       ~iC~~i~l~      I~r✓~P.o~/~Y/.~i~t ~ii,'~1~ f~a~ii7S'T             L`~'L/~~ dnc~ 1.~~z1cS'LJ~~


     ~                        ~P~egSe ~~ r~~ac~i~ /~Ier~arar~~ur~-~ ~~h cS'~.o,~v~f
                              6~' ~/~„~h~~-s' /~~ ✓ems s~~i~ _7,.




    Supporting Facts: Include all facts you consider important. State the facts clearly, in your own words, and without
    citing legal authority or argument. Be certain you describe, in separately numbered paragraphs, exactly what each
    DEFENDANT(by name)did to violate your right.
       P[r~s~ ~'~€ ~ach~ 1 /~1~r~o ~~rr>a~~•-~ .rr S~,006r~- Q f' l~/a,.~~~~s
         .~i'ver~s c5'ui
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    *Ifthere is more than one claim, describe the additional claims) on another attached piece ofpaper using the same
    outline.


                                                    CIVIL RIGHTS COMPLAINT
CV-66(7/97)                                                                                                     Page 5 of6
    Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 8 of 70 Page ID #:8


E. REQUEST FOR RELIEF

    I believe that I am entitled to the following specific relief:




                                                                     ~,        ~           ~    __
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         r
                  ~._I
                  ~/'                                                     (Signature of   't~




                                                   CIVIL RIGHTS COMPLAINT
CV-66(7/97)                                                                                          Page 6 of6
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 9 of 70 Page ID #:9


                       UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA




   GEECHIE DEVAIN TEMPLETON,
                  Plaintiff,


   -VS-


  JOSE ESQUETINI; ALAMILLA (FNU);
  BLAIR (FNU); R~VERA (FNU); MERISCAL (FNU);
  PARK (FNU); JOHNSON (FNU); FAST (FNU);
  LEEN (FNU); DELAY (FNU); REAMS (FNU)
                 Respondents.
                                                             i



                   MEMORANDUM IN SUPPORT OF PLAINTIFF'S
                  .1V1L .7U1"1
                  1              tSt(VVlzri'1' YUKJUHIV"1' 1'V   I31VL~LV.7




                                 I. INTRODUCTION


          Comes Now, Geechie Devain Templeton, hereinafter "Templeton"

   and submits the instant motion/civil suit pursuant to Bivens.

  For the following reasons, facts, and laws this Court should

  find that Templeton has stated a claim in which relief should

  be granted, and further grant Templeton the relief he is

  requesting.
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 10 of 70 Page ID #:10

                           II. STATEMENT OF FACTS


         On or about July 18, 2018, at approximately 3:20 p.m.;

   While housed in the Special Housing Unit ("SHU"), on E-Range

   (Cell 226), in USP Victorville. Templeton slipped and fell coming

   out of the shower. As a result of this fall, Templeton tried

   to break his fall and ended up breaking his right hand. Through

   a small laceration, about one inch from Templeton's pinky knuckle,

   Templetion could observe a tiny piece of bone fragment protruding

   through his skin.

         Almost immediately a slow, constant flow of blood began

   to come from the open wound. At approximately 3:25 p.m. the

   SHU's LT., Alamilla came on the range and Templeton stopped

   Alamilla, to inform him of the injury that had just occurred

   and showed Alamilla my right hand. Which was bleeding, swollen,

   and disfigured (pinky knuckle had been pushed back). Alamilla

   agreed to contact medical at Templeton's request, however,

   Alamilla or medical never returned.

       For the sake of brevity, Templeton requests the Court to

   se:' the attached exhibit of Timeline of Geechie Templeton's

   Injury. [See Exhibit A]


                       III. Jurisdictional Statement


        The Prison Litigation Reform Act of 1995 mandates that

   an inmate exhaust such administrative remedies as are available



                                      ~~
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 11 of 70 Page ID #:11



      berore bringing suit to challenge prison conditions. Ross V.

     Blake, 136 S. Ct. 1850, 1854-55, 195 L. Ed. 2d 117 (June 6,

     2016)(quoting 42 U.S.C. § 1997e(a)). Because Templeton has

     exhausted his administrative remedies, this Court has

     j urisdiction.

                           a. Administrative Remedies

           Templeton initiated his administrative remedies by handing

     his Informal Resolution (BP-8) to Alamilla on July 27, 2018,

     (due to Templeton being housed in the SHU, Templeton would have

     to wait to see Unit Team during their weekly walk through.

     However, no one from 6B's Unit Team had come through the SHU

     since July 18, 2018, the date Templeton injured his hand. So

     to file the BP-8, Templeton requested Alamilla to fax the BP-

     8 to Templeton's counselor Lopez, to which Alamilla obliged.

     Lopez brought Templeton's BP-8 back on 8-7-18 (8:55am)

           Templeton filed his BP-9 on August 14, 2018, and it was

     received by the Warden on August 22, 2018. Templeton filed his

     BP-10 on August 27, 2018, and it was received by the Regional

     Director on September 18, 2018. Templeton filed his BP-11 on

     October 11, 2018, and it was received by the Central General

     Office on October 18, 2018. Templeton's initial administrative

     remedy was assigned Case Number 951088. [See Exhibit B]




                                        -3-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 12 of 70 Page ID #:12



                  IV. EIGHTH AMENDMENT MEDICAL INDIFFERENCE


           The treatment a prisoner rec
                                        eives in prison and the
     conditions    under which the prisoner is con
                                                      fined are subject
     to scrutiny under the eighth Amendment
                                                  Which prohibits cruel
     and unusual punishment. See Hel
                                        ling V. McKinney, 509 U.S.
                                                                         25,
     31, 113 S. Ct. 2475, 125 L. Ed.
                                         2d 22 (1993); Farmer V. Brenna
                                                                        n,
     511 U.S. 825, 832, 114 S. Ct.
                                   1970,      128 L. Ed. 2d 811 (1994).
     The Eighth Amendment "... embo
                                        dies broad and idealistic concep
                                                                               ts
     of dignity, civilized standa
                                    rds, humanity, and decency." Est
                                                                          elle
     V. Gamble, 429 U.S. 97, 102
                                   , 97 S. Ct. 285, 50 L. Ed. 2d 251
    (1976).

         A prison official violates the
                                            Eighth Amendment only when
    two requirement are met: (1) objectively, the official's act

    or omission must be so seriou
                                     s such that it results in the
                                                                   denial
    of the minimal civilized mea
                                    sure of life's necessities; and
    (2) subjectively, the prison
                                     official must have acted
    unnecessarily and wantonly for
                                   the purpose of inflicting harm.
    See Farmer, 511 U.S. at 83~e
                                 Thus, to violate the Eighth
    Amendment, a prison official
                                    must have a "sufficiently cul
                                                                      pable
    mind." See id.

        A claim of medical indiffere
                                     nce requir    es: 1) a serious
   medical need, and 2) a delibe
                                    rately indifferent response
                                                                    by
   defendant. Jett V. Penner, 439
                                      F.3d 1091, 1096 (9th Cir. 200
                                                                   6). A
   serious medical need may be sho
                                      wn by demonstrating that "fa
                                                                      ilure




                                      -4-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 13 of 70 Page ID #:13



     to treat a prisoner's condition could result in further

     significant injury or the 'unnecessary and wanton infliction

     of pain."' Id.; See also McGuckin V. Smith, 974 F.2d 1050, 1059-

     6~ (9th Cir. 1992)("The existence of an injury that a reasonable

     doctor or patient would find important and worthy of comment

     or treatment; the presence of a medical condition that

     significantly affects an individual's daily activities; or the

     existence of chronic and substantial pain are examples of

    indications that a prisoner has a "serious' need for medical

    treatment.").

          The deliberate indifference standard is met by showing:

    a) a purposeful act or failure to responsed to prisoner's pain

    or possible medical need, and b) harm caused by the indifference.

    Id. "Deliberate indifference is a high legal standard." Toguchi

    V. Chung, 391 F.3d 1051, 1060 (9th Cir. 2004). "Under this

    standard, the prison official must not only 'be aware of the

    facts from which the inference could be drawn that a substantial

    risk of serious harm exists,' but that person 'must also draw

    the inference."' Id. at 1057 (quoting Farmer, 511 U.S. at 837).

    "A defendant must purposefully ignore or fail to responei ~o

    a prisoner's pain or possible medical need in order for

    deliberate indifference to be established." McGuckin, 974 F.2d

    at 1060.




                                       -5-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 14 of 70 Page ID #:14

                                a. Bivens Claim



         Under Bivens V. Six Unknown Named Agents of Federal Bureau

   of Narcotis, 403 U.S. 388, 91 S. Ct. 1999, 29 L. Ed. 2d 469

   (1971 ), a plaintiff may sue a federal official in his or her

   individual capacity for damages for violation of plaintiff's

   federal constitutional rights. See Van Strum V. Lawn, 940 F.2d

   406, 409 (9th Cir. 1991). To state a cognizable Bivens claim,

   a plaintiff must allege that: (1) a right secured under the

   United States Constitution was violated, and (2) the violation

   was committed by a federal actor. Bivens provides that "federal

   courts have the inherent authority to award damages against

   federal officials to compensate plaintiffs for violation of

   their constitutional rights." Western Center of Journalism V.

   Cederguist, 235 F.3d 1153, 1156 (9th Cir. 2000)



                         V. Personal Participation

        As a threshold issue, a plaintiff must link the named

  defendant to the participation in the violation at issue.

  Ashcroft V. Iqbal, 556 U.S. 662, 667, 129 S. Ct. 1937, 173
                                                                     L.
  Ed. 26 868 (2009); Ewing V. City of Stockton, 588 F.3d
                                                         1218,
  1 235 (9th Cir. 20090; Simmons V. Navajo City, Ariz., 609 F.3d

  1 011, 1020-21 (9th Cir. 2010)


                          a. Lieutenant Alamilla

       On July 18, 2018, at approximately 3:35p.m. Lieutenant

  Alamilla (First Name Unknown "FNU"), was walking on E-Range
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 15 of 70 Page ID #:15

    and Templeton's cellmate Justin Martin X16703-003 stopped

   "Alamilla" for Templeton. Through the cell door window (5"X18")

    Templeton explained to Alamilla that Templeton had just slipped

   and fell coming out of the shower and broke his hand. Templeton

   showe:3 Alamilla his right hand and pointed out that a tiny piece

   of bone had actually came through the skin; this was supported

   by the bleeding coming from Templeton's hand. Alamilla

   acknowledged the swelling and the disformity (cause by the break)

   in Templeton's .right hand around the pinky area and knuckle.

           Templeton expressed to Alamilla that he was in need of

   emergency medical attention and in extreme pain. In fact,

   Templeton disclosed to Alamilla that on a scale of one to ten

   (ten being the worst) that Templeton was definitely at a ten.

   Alamilla stated that he would get in contact with medical.

   Alamilla never came back to Templeton's cell door to advise

   Templeton if Alamilla had in fact followed through with his

   wordso

           On July 19, 2018, at approximately 8:14a.m, Templeton (after

   being up all night in excruciating pain) once again was •sble

   to talk to ~lamilla at Templeton's cell door. Templeton explained

   to Alamilla that Templeton really needed to see medical and

   needed some type of pain medication, and that Templeton had

   not, in fact, slept at all because of the pain in Templeton's

   hand.




                                      -7-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 16 of 70 Page ID #:16


         At this time, Alamilla took no necessary step to get

   Templeton any medical attention or pain medication. Subsequently,

   at approximately 2:07p.m. (July 19, 2018), Templeton attempted

   to talk to Alamilla once more to get medical attention and pain

   medication, to no avail. As Alamilla only stopped long enough

   to inform Templeton that he had "not done anything yet, because

   [he] been very busy."

         On July 23, 2018, at approximately 10:21a.m., Templeton

   spoke with Alamilla and showed Alamilla Templeton's hand, which

   had swelled enormously, turned black and blue around the pinky

   and palm, and the pinky had bent dramatically inward. Templeton

   (practically in tears; with no pain medication) begged Alamilla

   to get Templeton medical attention. Alamilla informed Templeton

   that Alamilla was going to contact medical and see if Alamilla

   could get Templeton placed on the list to be pulled out to be

   seen by the Physician's Assistance "P.A."; which would be in

   two days, as the P.A.s only came to the SHU every week on

   Wednesday.

         On July 24, 2018, at approximately 11:14a.m, Alamilla advised

   Templeton that Alamilla had contacted medical and medical
   informed Alamilla that "they had been made aware of Templeton's

   injury. Alamilla advised Templeton that if medical didn't pull

   Templeton the following day, that Alamilla would get Templeton

   to medical.



                             b. Nurse Blair (FNU




                                       ~.~
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 17 of 70 Page ID #:17


         on July 18, 2018, at approximately 5:36p.m. Blair was making

    rounds on E-Range and Templeton stopped Blair at Templeton's

   cell door (226). Templeton showed Blair Templeton's hand and

   explained to Blair that Templeton was experiencing level 10

   pain. Blair did acknowledge that Templeton had an injury to

   his hand and advised Templeton that Templeton needed to fill

   out a sick call request. To which Templeton handed Blair a sick

   call request that Templeton had previously filled out. Blair

   stated that Blair would give it to the P.A.

         On July 19, 2018, at approximately 9:11a.m., Blair was

   conducting another walk through in the SHU, on E-Range (in the

   capacity of the Duty Officer). Once again, Templeton stopped

   Blair to show Blair Templeton's hand, request medical attention,

   and pain medication. Templeton explained to Blair that the pain

   was unbearable. Upon seeing Templeton's hand approximately

   fifteen hours later; Blair responded by "cracking" a very

   insulting joke. Specifically Blair stated, "I have good news

   and bad news. First, the good news, you definitely have something

   wrong with your right hand, that's clear. The bad news is that

   it will never be as bad as your face." Blair laughed in

   Templeton's face and walked away from Templeton's cell door.

        On July 23, 2018, at approximately 4:49, Templeton stopped

   Blair once more at Templeton's cell door. Templeton, practically

   begging, and in tears, told Blair that Templeton's hand was




                                     '~
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 18 of 70 Page ID #:18

   broken, (and had been for five days), was "hurting like hell"

   and asked Blair could Blair "please get Templeton in to see

   the P.A." Blair said that he would talk to P.A. and let them

   know.



                             C. P.A. Jose Esquetini


         On July 19, 2018, at approximately 8:40a.m, Esquetini was

   passing out medication on E-Range, and Templeton stopped

   Esquetini to show Esquetini Templeton's injured hand. Templeton

   asked Esquetini for pain medication, to be taken to medical

   to het treated for Templeton's injury, and handed Esquetini

   a second sick call request. Esquetini, pulling his eye glasses

   on, looked at Templeton's hand through the cell door window,

   and stated "that's a problem."

         However, Esquetini further stated that "I'm not your P.A.

   but I'll give it to your P.A." Templeton asked Esquetini what

   else could Templeton do to be seen, because Templeton's P.A.,

   Wolverton, was out and wouldn't return for another week?

   Esquetini replied "I'm not your P.A., it's not my problem."

   Templeton responded saying "my fucking hand is broken, Ray

   Charles can see that. It hurls . ~l~ke:~_he~l, ~a-nd,::~oc;~~e ~.w~~its,',~o

   take me to medical to get x-rayed or give me any pain

   medication." Esquetini, turned and walked away.

         On July 25, 2018, at approximately 10:22am., Templeton

   was sitting in the Health Services waiting room, along with




                                        ~i[i~
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 19 of 70 Page ID #:19



   seven or eight other "shackled" inmates, who had been brought

   from the SHU to see either the dentist, X-rays, or the P.A.

   After all the other inmates had been seen by their respective

   department, Templeton still had yet to be seen. Another inmate,

   (who was not brought in with Templeton and the other SHU inmates)

   came into the waiting area and began talking to one of the other

   inmates.

         During this conversation, Templeton over heard the new

   inmate say that he had just came out of X-Rays, and the X-Ray

   technician said that he was the last inmate for her today. At

   this point, Templeton stood by the door leading to the exam

   rooms, waiting for the officer to come. Once the officer opened

   the door, Templeton asked the officer (Self(FNU) if Templeton

   was going to be seen. To which Self replied, "let me go check

   with Esquetini." When Self came back, he informed Templeton

   that Esquetini had said that Templeton wasn't on the list to

   be seen.

        Templeton showed Self Templeton's swollen, black and blue

   hand and said "my hand has been broken for a week, it hurts

   like crazy, I need some pain medication, and I'm not going to

   leave medical until my hand is X-Rayed and I'm seen by the

   doctor." During this exchange, between Templeton and Self,

   Esquetini walked up.

        Templeton asked Esquetini if Templeton was on the X-Ray


                                     -1 1 -
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 20 of 70 Page ID #:20


    list, because Alamilla had informed Templeton that he was.

    Esquetini said that when he looked, he didn't see where any

    medical assessment had been conducted on Templeton's hand, and

    that Esquetini had called and spoke to some (unidentified)

    officer in the SHU and inquired as to why Templeton was in the

    infirmary, and "that" officer told Esquetini that he didn't

    know anything about it.

          Templeton began to explain to Esquetini that Templeton

    had, in fact, showed Esquetini Templeton's hand on July 19,

    2018, when Templeton had given Esquetini the second sick call

    request. Templeton continued to stress to Esquetini that there

    was just no way possible that Esquetini could not be aware of

    Templeton's injury, because Templeton had previously showed

    it to Esquetini and Esquetini had acknowledged that the injury

     was "a problem."

         Esquetini began to become combative, by stating that when

     an incident occurs that requires medical attention, an inmate

     has to notify an officer, and the officer notifies medical so

    that a medical assessment could be conducted. Templeton explained

     to Esquetini that Templeton had done everything that was required

     of Templeton (requesting medical attention over 25 times from

     at least fourteen different officers and medical staff,

     submitting four sick call requests, and showing my hand and

     requesting pain medication for seven straight days), to no avail.




                                        -12-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 21 of 70 Page ID #:21

         Esquetini finally stated in the presence of Heath Services

    Administrator    Ms. Leen, the X-Ray Tech (name unknown), and Self,

    that Ms.Leen    had verified that she was made aware of Templeton's

    injury, and that X-Rays were going to be taken of Templeton's

    hand. Subsequent to the X-Rays being taken, Esquetini saw the

    compound fracture break, and immediately began to process the

    paperwork to send Templeton out on an emergency "med-trip" to

    an outside emergency room/trauma center.

          Templeton explained to Esquetini that Templeton had

    attempted to get this X-Ray, medical attention, and pain

    medication for the last seven days. To which Esquetini replied

    "I can't believe that you went that long without any pain

    medication."

                             d. Nurse Rivera (FNU)


          On July 19, 2018, at approximately 4:56p.m., Rivera was

    passing out evening medication on E-Range, and Templeton stopped

    Rivera at Templeton's cell door (226): Templeton showed Rivera

    Templeton's injured right hand and requested pain medication

    and to be taken to medical. Rivera responded by saying "Holy

    Shit!" What the hell did you do to your hand?" Templeton explained

    to Rivera how Templeton had slipped and fell-coming out of the

    shower and broke Templeton's hand.

          Templeton further explained that the bone had actually

    come through the skin and the laceration had not stopped




                                      -13-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 22 of 70 Page ID #:22

    bleeding. (Even through Templeton had a band-aid on, the wound

    had continued to bleed for a complete 24 hours). Rivera stated

    that Rivera only passes out medication that is prescribed by

    a P.A. to which Templeton replied by asking Rivera, "how can

    I ever get some medication prescribed if the P.A. won't call

    me to medical?"

          On July 20, 2018, at approximately 5:09p.m., Rivera was

    passing out evening medication on E-Range, and Templeton stopped

    Rivera at Templeton's cell door (226). Templeton requested pain

    medication because the pain in Templeton's hand was so bad,

    that Templeton explained to Rivera that Templeton had only slept

    for a total of three hours (sparingly) since injuring Templeton's

    hand. Rivera acted as if Templeton was irritating Rivera and

    stated that "I can't do shit until you see the P.A," and just

    walked away from Templeton's door.

         On July 21, 2018, at approximately 4:20p.m., Rivera was

    passing out evening medication on E-Range, and Templeton stopped

   Rivera at Templeton's cell door (226). Rivera, upon observing

   the discoloration     (black and blue) and deformity in Templeton's

   pinky and the extreme swelling in Templeton's hand. Rivera opened

   up the "trap-door" on Templeton's cell door and asked Templeton

   to let Rivera see Templeton's hand; Templeton complied by sticking

   the injured right hand out the "trap-door." Rivera grabbed

   Templeton's hand very carefully, however, the touch still

   enhanced the pain in Templeton's hand. Rivera said that Rivera

   just wanted to check the blood circulation in Templeton's finger,



                                      -14-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 23 of 70 Page ID #:23


   as Templeton had brought to River's attention that Templeton

   was losing feeling in the pinky. Upon squeezing the tips of

   Templeton's finger, Rivera said "the blood circulation in your

   pinky is sluggish."

        Templeton begged Rivera for some form of pain medication,

   because Templeton was in so much pain. Rivera said that "it's

   clear your hand is broken, and I'm sure that you need something

   for pain. But until you see the P.A, and they prescribe you

   something, there's nothing that I can do." Templeton replied

   by saying that "it has been four days already and I still

   haven't gone to medical. Can you at least explain to the P.A.

   that my hand is broken and I need to be seen?" Rivera just

   replied by saying "I'll talk to them" and walked off.

         On July 23, 2018, at approximately 9:42a.m., Rivera was

   passing out morning medication on E-Range. Templeton stopped

   Rivera at Templeton's cell door (226). Templeton once again

   requested pain medication and to be taken to medical, and handed

   Rivera a third sick-call request. Rivera just took the sick

   call request and walked away from Templeton's door.

         On July 26, 2018, at approximately, 6:14p.m., Rivera finally

   brought Templeton a bottle of 800mg. Ibuprofen. Templeton does

   bring to the attention of the Court that the Ibuprofen did

   a bsolutely nothing to subside the pain that Templeton was

   experiencing. For the next five days, Templeton continued to

   complain of pain and stronger medication and was ignored to

   either denied by medical staff repeatedly.




                                      -15-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 24 of 70 Page ID #:24

                         e. Officer M~iscal (sic) (FNU)



          Oa July 20, 2018, at approximately 8:23a.m., Meriscal was

     conducting a routine walk through on E-Range and Templeton

     stopped Meriscal at Templeton's cell door (226). Templeton showed

     Meriscal Templeton's right hand trough the cell door window.

     Meriscal immediately responded by saying "what the fuck did

     you do to your hand?" Templeton explained to Meriscal that

    Templeton slipped and fell coming out of the shower. Templeton

    further explained to Meriscal that Templeton had been trying

     to get medical attention and get pain medicati
                                                    on for two days,
     but was denied on every attempt. Templeton
                                                requested Meriscal
     to call medical because Templeton was in so much
                                                      pain. Meriscal
     advised Templeton that Meriscal would advise medical
                                                          .
         At approximately 3:14p.m., the same day, Meriscal came back

     on E-Range and Templeton stopped Meriscal at Templeton's cell

     door (226). Meriscal informed Templeton that Meriscal had called

    medical and informed them that Templeton's hand was "swollen ~o

     to the size of a softball," but all medical said was for

     Templeton to put in another sick call request.

          Templeton explained that the pain was so bad that Templeton

    couldn't sleep. Templeton asked Meriscal what else could

    Templeton do to get to medical to at least get some pain

    medication, because the only other recourse (taking the trap,

    pushing the panic button) would lead to Templeton receiving

    an incident report.




                                       -16-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 25 of 70 Page ID #:25


          As Rivera, Blair, and Esquetini had all informed Templeton

     that "a swollen hand" is not considered an emergency to push

     the panic button. Meriscal just replied talk to the Lieutenant

     and walked away from the Templeton's door.



                               f. Nurse Park (FNU)



          On July 20, 2018, at approximately 9:16a.m., Park was

     passing out morning medication on E-Range and Templeton stopped

     Park at Templeton's cell door (226). Templeton showed Park

     Templeton's hand and explained to Park that the level of pain

     that Templeton was experiencing was a "ten." Templeton requested

    Park to get-Templeton to medical as well as some pain medication.
     Templeton was in extreme pain and informed Park that Templeton's

     hand had been broken for two days. Park stated that "I can

     clearly see that something is wrong with your hand from the

    swelling and the color. But let me talk to the P.A. and lets

    see what they say."

          Templeton advised Park that Templeton had showed his hand

    to Esquetini and gave Esquetini a sick call request the day

    before. Park asked Templeton what did Esquetini say. Templeton

    replied by telling Park that Esquetini had said that "it (the

    injury) was a problem," but that he wasn't Templeton's P.A.,

    but that he would give it to her; even though she wasn't working




                                       -17-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 26 of 70 Page ID #:26

  (and wouldn't be for another week).

        Park just shook his head in disbelief and said "let me

  see what I can do", and walked away from Templeton's door. On

  July 26, 2018, at approximately 8:41a.m., Park was-p~ss~ng out

  morning medication on E-Range and Templeton stopped Park at

  Templeton's cell door (226). Templeton explained to Park that

  it had been eight days that Templeton has gone without any pain

  medication with a broken hand. Templeton gave Park a sick call

  request asking for pain medication.

        Templeton asked Park if Park could "please bring some

  medication back today, because the pain was excruciating." Park

  took the request and said "let me check with the P.A., and walked

  away from Templeton's door.


                          g. Nurse Johnston (FNU)



        On July 21, 2019, at approximately 7:44 a.m, Johnston was

  passing out morning medication on E-Range, and Templeton stopped

  Johnston at Templeton's cell door (226). Templeton showed

  Johnston Templeton's right hand and requested pain medication,

  d ue to the fact that the pain was so bad and that Templeton

  needed to see medical. Johnston advised Templeton that Templeton

  nee:3ed to see ~he~P ~. Temp~e~on-expla nod to~~ohn~ton that

  ~e~piet~n had,~An fact, showed Esquetini Templeton's hand and

  no one has still brought Templeton any pain medication or called

  Templeton to medical. Johnston stated that there was noting

  she could do and then walked away from Templeton's cell door.



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Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 27 of 70 Page ID #:27


                            h. Nurse Fast (FNU



        O n July 24, 2018, at approximately 8:09a.m., Fast was

  passing out morning medication on E-Range, and Templeton

  explained to Fast the situation that had been going on with

  Templeton attempting to get pain medication and medical attention

  for Templeton's right hand. Fast advised Templeton that the

  Health Service Administrator (Leen) would be coming around later

  on, during the weekly walk through, and that Templeton needed

  to speak with her. Fast walked away from Templeton's cell do~~r.



               i. Health Service Administrator LEEN (FNU)



        On July 24, 2018, at approximately 9:51a.m., Leen was

  walking on E-Range and Templeton stopped Leen at Templeton's

  cell door (226). Templeton showed Lsen Templeton's right hand

  and explained how bad it hurt. Templeton informed Leen that

  Templeton's hand had been broken for six days and the medical

  staff was ignoring Templeton's requests and the request made

  by officers, for pain medication and medical attention. Leen

   wrote Templeton's information on a yellow note pad and v;alked

   away from Templeton's cell door.



                            . Officer Delay (FNU



        On July 21, 2018, at approximately 3:50p.m., Delay was

  doing a routine walk through on E-Range, and Templeton stopped



                                     -19-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 28 of 70 Page ID #:28


    Delay at Templeton's cell door (226). Templeton showed Delay

    Templeton's right hand and explained that the pain was

    unbearable. Templeton asked Delay if he could contact medical

   because Templeton was in-dire need of pain medication and medical
    attention. Delay said that he would call medical an~~ he did.

          On July 25, 2018, at approximatQly 3:01p.m., Delay was

    doing a routine walk though on E-Range, and Templeton stopped

    Delay at Templeton's cell door (226). Templeton begged Delay

    to call medical to try to get Templeton some form ~~f pain

    medication. As Tem~oleton was in unbelievable pain. Delay stated

    that Delay had to pass out razors and that Delay would forget,

    so Templeton had to remind Delay. At approximately 4:42p.m~:~:

    Templeton stepped Delay and aksed Delay if Delay had contacted

    medical about getting some pain medication for Templet~z? Delay

    stated that he had not, because medical had not~c~~e to tine -• :.

    SHU yet, but that Delay would see what was up when medical camp

    ~o pass out evening medication.


                           k. Lieutenat Reams (FNU

          On July 18, 2018, at approximately 6:02p.m., SfiU ~~eut~n~r~t

    Reams was conducting a routine walk through on E-Range, and

    Templeto:~ Mopped Reams at Templeton's cell door (226). Templeton

    showed Reams Templeton's injured right hand; which was swollen

    and blee:3ing, and explained to Reams that Templeton's hand w~3s

    broken and that the bone had come through the skin. Templeton

    further explained that Templeton was experiencing level 10 pain

    and really needed so~ne~ medical attention and pain medication.




                                       -20-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 29 of 70 Page ID #:29

            Reams replied by telling Templeto
                                              n that there was nothing
      Reams could do that it was lef
                                     t to medical, and      Reams walked
      away from Templeton's cell door
                                      .


           Each government official, his or
                                            her      title nothwithstanding,
     is only liable for his or her
                                        misconduct. OSU Student Alliance
      V. Ray, 699 F.3d 1053, 1069 (9t
                                      h Cir. 2012). The government's
     failure to satisfy its "obligation
                                        to provide medical care for
     those whom it is punishing by inca
                                        rcer     ation" can constitute
      an Eighth Amendment violation. Colwell V. Bannister,
                                                           763 F.3d
      1060, 1066 (9th Cir. 2014).

           To prevail on an Eighth Amen
                                        dment claim for inadequate
     medical care, a plaintiff must
                                    show "deliberate indiffer        ence"
     to his "serious medical needs."
                                     Id. "A medical need is serious
    if failure to treat it will resu
                                     lt in significant injury or
    the unnecessary and wanton infl
                                    iction of pain." Peralta V.
    Dillard, 744 F.3d 1076, 1081 (9t
                                     h Cir. 2014). A prison
    official's action is deliberately
                                       indifferent if [they] "know
    of and disregards an excessiv risk
                                  e      to inmate health and safety."
    Id.

          Deliberate indifference "may appe
                                               ar when prison officials
    deny, delay or intentionally inte
                                         rfere with medical treatment,
    or it may be shown by the way in
                                     which prison physician's provide
    medical care." Colwell, 763 F.3d
                                     at 1066.
         Templeton avers that because
                                          Templeton first reported his
    broken hand to Alamilla, approxim
                                      ately fiv    e minutes after the



                                      -21-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 30 of 70 Page ID #:30

    injury; while it was swelling, bleeding, and disfigured, made

    Alamilla aware of the "serious medical need "of Templeton. And

    the fact that Alamilla is a lieutenant and possessed the

    authority to 1) call to medical and request that a medical

    assessment be conducted on Templeton's hand; and 2) pull

    Templeton out of his cell and take Templeton to be medically

    assessed; but chose to ignore Templeton's serious medical need,

    did result in further significant injury and the unnecessary

    and wanton infliction of pain. Reralta, 744 F.3d at 1081.

          Templeton further alleges that lieutenant Reams became

    aware of Templeton's "serious medical need" at approximately

    6:02 p.m., somewhat two hours, and forty-two mintues after

    Templeton broke his hand. When Reams became aware of Templeton's

    injury, Templeton's hand was extremely swollen, bleeding,

    disfigured and at a level 10 in pain. Because Reams possessed

    the authority, as a lieutenant, to 1) call to medical and request

    that a medical assessment be conducted on Templeton's hand;

    and 2) pull Templeton out of his cell and take Templeton to

    be medically assessed, and chose not to utilize this authority;

    and instead made the conscious decision to ignore Templeton's

    serious medical need. Did result in further significant injury

    and tie unnecessary and wanton infliction of pain to Templeton's

    hand. Peralta, 744 F.3d at 1081. Templeton states that for
                                                               these
    reasons, Alamilla and Reams were deliberately indifferent to

    Templeton's serious medical needs. Colwell, 763 F.3d at 1066.




                                      -22-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 31 of 70 Page ID #:31



        Templeton states that because Esquetini, Blair, Rivera,

   Park, Johnston, Fast, and Leen were/are medical personal,

   employed in Health Service Department, Templeton must show that

   they chose, in conscious disregard of an excessive risk to

   Templeton's health, a course of treatment medically unacceptable

   under the circumstances. Toguchi V. Chung, 391 F.3d 1051, 1058

   (9th Cir. 2004).

         Here, Templeton avers that Esquetini, Blair, Park, Johnston,

   Fast, and Leen became aware of Templeton's serious medical need,

   (with the exception of Fast and Leen) within 17 hours 20 minutes,

   two hours 16 minutes, 25 hours 36 minutes, 41 hours 56 minutes,

   and 64 hours 24 minutes, respectively, of Templeton' breaking

   his hand. Because Templeton's hand exhibited extreme medical

   symptoms, i.e., severe swelling, loss of feeling, discoloration

   (black and blue) of palm and pinky, disfigurement of pinky,

   dislocation of pinky knuckle, and extreme pain; that any lad

   person, and especially trained medical staff, knew required

   immediate medical attention, Esquetini, Blair, Rivera, Park,

   Johnston, Fast and Leen (Fast and Leen became aware of

   Templeton's serious medical need approximately 24 hours before

  T.empletQn was taken to. medical on 7-25-18 at 9:35a.m) ignored

  Templeton's need fns immediate medical attention.

        Thus this course, or the lack thereof, of treatment was

  medically unacceptable under the circumstances. And this

  egregious lack of medical treatment subjected Templeton to




                                     -23-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 32 of 70 Page ID #:32

    further significant injury and the unnecessary and wanton

    infliction of pain. Peralta, id. supra. id The fact that

    Esquetini, Blair, Rivera, Park, Johnston, Fast, and Leen were

    deliberately indifferent when they both denied and delayed

    Templeton medical treatment for a "serious medical need",

    violated Templeton's Eighth Amendment right, which prohibits

    cruel and unusual punishment. See McKinney, 509 U.S. at 31;

    Farmer, 511 U.S. at 832; See also Gamble, 429 U.S. at 102. It's

    clear, that the medical personal, listed above, who left

    Templeton in a cell for 7 (Seven) days, with a compound fracture

   [See Exhibit -C, Mills Surgery Center, Operative Report; and

    X-Rays], with no medical treatment could result in further

    significant injury (the loss of an extremity (right pinky)).

         Templeton avers that Meriscal and Delay became aware of

    Templeton's serious medical need on July 20, 2018 (8:32a.m)

    July 21, 2018 (3:50p.m) respectively. Because Meriscal and Delay

    were only officers, they did not possess the authority of

    Alamilla and Reams, as lieutenants, to pull Templeton from the

   cell to be taken to medical, without authorization. However,

   once Merscial and Delay become aware of the facts (Templeton's

   hand was swollen, black and blue, disfigured and hurt extremly)

   from which the inference could be drawn that a substantial risk

   of serious harm exists; and drew that inference; Toguchi V.

   Chung, 391 F.3d 1051, 1057 (9th Cir. 2004); (the inference was

   made Meriscal and Delay acknowledge Templeton's serious medical




                                      -24-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 33 of 70 Page ID #:33


  need and making the decision to call and notify medical)).

        The fact that Meriscal and Delay admitted calling medical

  and notify medical that Templeton had a serious medical need,

  and was aware that medical did not act properly or promptly

  to Templeton's medical need. Mersical and Delay were obligated

  under Program Statement PS § 3420.11, standard of Employee

  Conduct, to "report any violation, or apparent violation, of

  standards of conduct to their Chief Executive Officer or another

  appropriate authority." P.S. § 3420.11(1)(b)(vi) under Attachment

  A; Standard Schedule of Disciplinary Offense and Penalties,

  number 7) "In attention to duty"; 15). Endangering the safety

  of others through carelessness or failure to follow instructions;

  and 56)'s Failure to report a violation of the standards of

  conduct, or retaliation or discrimination against those who

  make such a report, lists violation of Meriscal and Delay. As

  Meriscal nor Delay reported medical's refusal or act of ignoring

  Templeton's serious medical need to their C.E.O. And pursuant

  to P.S. § 5270.11(13) § 541.32(a) ... Emergency medical care

  is always available.

        Meriscal and Delay's failure to report the medical

  department exposed Templeton to further significant injury or

  the unnecessary and wanton infliction of pain. McGuckin, 974

  F.2d at 1059-60.




                                     -25-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 34 of 70 Page ID #:34


                                   VI. Witnesses



                   a) Inmate Justin Lemar Martin #16703-003



          Inmate Martin was Templeton's cellmate on July 18, 2018,

     through August 1, 2018, when the instant matter took place.

     Templeton had to rely on Martin to aid Templeton in the smallest

     of tasks. As Templeton's right hand could not be used in anyway.

     Martin provided Templeton with an affidavit [See Exhibit D

    Affidavit of Justin
                  i     Lemar
                           ,  Martin] stating th'e incident and.

    the subsequent events that has led to the instant civil suit

    against the aforementioned parties in their individual capacity.

     Templeton states that Martin has no self-serving or personal.

     interest in this matter and this Court should accept Martin's

     affidavit as true.

                          b) Sammy Bohanon #27337-479


          Inmate Bohanon was in cell 227, on E-Range, next door to

    Templeton in cell 226. On July 18, 2018, when the instant matter

    was initiated. Bohanon's cell door window was in such close

    proximity of Templeton's cell door window, that it afforded

    Bohanon the opportunity to see any individual that stood in

    front of Templeton's window. It further allowed Bohanon to hear

    any conversation being held between Templeton and any individual

    in front of Templeton's cell. Bohanon provided Templeton with

    an affidavit [See Exhibit E-Affidavit of Sammy Bohanon] stating

    the events, from the instant matter, as best he remembers,

    leading to the instant civil suit against the aforementioned



                                       -26-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 35 of 70 Page ID #:35


  parties in their individual capacity. Templeton states that

  Bohanon has no self-serving or personal interests in this matter

  and this Court should accept Bohanon's affidavit as true.



                        c. Esequiel Pena #18394-180


       Inmate Pena was in cell 239, on E-Range, across the tier

  from Templeton in cell ~~~, on July 18, 2018, through August

  1 , 2018, when the instant events unfolded. Because Pena's cell

  was right across from Templeton's cell, Pena could look out

  of his cell door window and into Templeton's cell door window.

  This allowed Pena to hear any conversation being held between

  Templeton and any individual at Templeton's door. Pena provided

  Templeton with an affidavit [See Exhibit F-Affidavit of Esequiel

  Pena] on his own free-will. Pena does not have any self-serving

  or personal interests in this matter and this Court should accept

  Pena's affidavit as true.



                           d. Officer Velez (FNU


       Velez was an officer who worked in the SHU on occasions.

  On July 21, 2018, at approximately 5:16p.m., Velez (Ojee) came

  on E-Range and Templeton stopped Velez at Templeton's door.

  Templeton showed Velez that Templeton had injured Templeton's

  hand. Templeton explained to ~~~~z that ~~mpletAn had inj~re~

  his hand two days prior, coming out of the shower, Velez Mated

  that he could tell that Templeton's hand was broken, just from



                                     -27-
Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 36 of 70 Page ID #:36

  looking at it. Velez said he would call and contact medical

  for Templeton. Velez did come back and inform Templeton that

  medical had been notified.

        On July 23, 2018, at approximately 5:51p.m., Velez was

   doing a routine walk through on E-Range and Templeton stopped

  Velez at Templeton's door. Templeton explained to Velez that

  Templeton's hand had gotten worse, and that medical was still

   denying Templeton medical attention and pain medication. Velez

   said that he would contact medical once again on'Templeton's

   behalf. Velez further advised Templeton that Templeton should

   write medical up.

       Velez informed Templeton that if medical didn't provide

  Templeton with the medical attention and pain medication that

  Templeton needed that Velez would write medical up as well.

  On July 25, 2018, at approximately 6:10p.m., Templeton was being

  returned to his cell on E-Range; after coming back from a med-

  trip, having a splint placed on, his right hand; by Velez. While

  walking up the stairs and down E-Range, Velez admitted to

  Templeton that he had gotten "chewed out" and that "they" were

  mad at Velez because he had written medical up for denying me

  medical treatment.

        Velez further stated that he had been working in the system

  for over twenty-years and he knows how this goes, and that what

  they were doing was wrong. Velez does not have any personal

  interests in this matter and should be -requested to submit an

  affidavit; as well as a copy of the report he wrote up.



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Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 37 of 70 Page ID #:37


                            VII. Relief Requested



         Templeton request that this Court 1) find that summary

   judgment is not warranted in this action, because Templeton

   has stated a claim of "deliberate indifference" against the

   defendants in their individual capacity; 2) find that Templeton's

   claim of deliberate indifference is a claim in which relief

   can be granted; 3) find that the actions of the defendants

   violated Templeton's Eighth Amendment Constitutional right;

   4) find that Templeton is entitled to be monetary compensated

   $21,000,000.00; 5) and find that Templetion is entitled to

   punitive damages.

                           a. Monetary Compensated



         Templeton request that this Court award Templeton twenty-

   one million dollars in United States Currency, based on the

   evidence supported in the record. The defendant's total disregard

   for human decency that left Templeton in a cell with a compound

   fracture to his right hand for seven days with no medication,

   and seven days with only Ibuprofen and Tylenol should not be

   ignored. Templeton seeks monetary compensation for each of the

   screws placed in his hand, the "T-plate" placed in his hands,

   deliberate indifference, pain and suffering, cruel and unusual

    punishment, and medical negligence.




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Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 38 of 70 Page ID #:38

                             b. Punitive Damages


         Punitive damages are a "particular remedial mechanism

   normally available in the federal courts," and are especially

   appropriate to redress the violation by a Government official

   of an [inmate's] constitutional rights. In Smith V. Wade, 461

   U.S. 30, 56, 75 L.Ed. 2d 633, 103 S. Ct. 1625 (1983), the Supreme

   Court held that a jury may be permitted to assess punitive

   damages in an action under 42 USCS § 1983, when the defendant's

   conduct is shown to be motivated by evil motive, or intent,

   or when it involves reckless or callous indifference to the

   federally protected rights of others. The Court further held,

   that this threshold applies even when the underlying standard

   of liability for compensatory damages is one of recklessness.

   id.

         Templeton request that once this Court finds that the

   defendant's deliberate indifference violated Templeton's

   constitutional Eighth Amendment right; further find that

   Templeton is entitled to punitive damages. "Once a plaintiff

   has successfully met the "deliberate indifference" standard

   under Eighth Amendment requiring that the conduct be "wanton,"

   Wilson V. Seiter, 501 U.S. 294, 302, 111 S. Ct. 2321, 115 L.

   Ed. 2d 271 (1991), there is little more that such a plaintiff

   would need to prove to establish a convincing argument for an

   award of punitive damages.

         For the following reason, facts, and laws this civil suit

   pursuant to Bivens should be granted.



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Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 39 of 70 Page ID #:39



   Respectfully Submitted,

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   sl        ,             ~            ~yf
   G chie DeVain TemAle           n
   #15422-031
   U.S.P. Coleman #1
   P.O. Box 1033
   Coleman, FL 33521


                             CERTIFICATION OF SERVICE

         I, Geechie DeVain Templeton, do hereby certify and declare
                     c~~          ~fPr~~ ~~a ~-_
   that on this~3 ~        day,           y 2019, that a true and correct

   c~~py of the instant Bivens Civil Suit, Memorandum, Exhibits

   and Affidavits in support have been mailed to the following:

         Clerk of Court
         Central District of California
         George E. Brown, Jr. U.S. Courthouse
         3470 Twelfth Street
         Riverside, CA, 92501-3801

        By placing a pre-paid postage envelope in the prison legal

   mail box, at USP Coleman -1.

         Signed under Pen~ty of Perjury Pursuant to § 1746 on this
                   /~~/ l'~
        ~~~ day,             2019.




   G  e~ ie DeVain Templet.
      422-031
   U.S.P. Coleman #1
   P.O. Box 1033
   Coleman, FL 33521




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        Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 40 of 70 Page ID #:40                                                                      m




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   If dissatisfied with this response, you may appeal to the Regional Director.
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                                                                                                                                                                    the date of this response.
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Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 50 of 70 Page ID #:50




                  REJECTION NOTICE - ADMINISTRATIVE REMEDY



DATE: AUGUST 22, 2018                                   ~~




FROM: ADMINISTRATIVE REMEDY COORDINATOR
      VICTORVILLE USP

TO    GEECHIE DEVAIN TEMPLETON, 15422-031
      VICTORVILLE USP    UNT: 6 B    QTR: Z05-230LAD
      P.O. BOX 5400
      ADELANTO, CA 92301




FOR THE REASONS LISTED BELOW, THIS ADMINISTRATIVE REMEDY REQUEST
IS BEING REJECTED AND RETURNED TO YOU. YOU SHOULD INCLUDE A COPY
OF THIS NOTICE WITH ANY FUTURE CORRESPONDENCE REGARDING THE REJECTION.


REMEDY ID        951088-F1       ADMINISTRATIVE REMEDY REQUEST
DATE RECEIVED    AUGUST 22, 2018
SUBJECT 1        REQUESTS FOR MONETARY COMPENSATION
SUBJECT 2        MEDICAL CARE - DELAY OR ACCESS TO
INCIDENT RPT NO:

REJECT REASON 1: YOU DID NOT ATTEMPT INFORMAL RESOLUTION PRIOR TO SUBMISSION
                 OF ADMINISTRATIVE REMEDY, OR YOU DID NOT PROVIDE THE
                 NECESSARY EVIDENCE OF YOUR ATTEMPT AT INFORMAL RESOLUTION.




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         Case 5:19-cv-00813-FWS-AGR Document 1 Filed
   U.S. Department of Justice                        04/30/19
                                                Regional       Page 51 of
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                                                                         Remedy    ID #:51
                                                                                Appeal
   Federal Bureau of Prisons


   Type or use ball-point pen. If attachments are needed, submit four copies. One copy of the completed BP-229(13) including any attachments must be submitted
   with this appeal

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   Part B -RESPONSE




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                   DATE                                                                                                   REGIONAL DIRECTOR
  If dissatisfied with [his response, you may appeal to the General Counsel. Your appeal must be received in the General Counsel's Office within 30 calendar
  days of the date of this response.                                                                                                      ~ ~i ~             ~/~~
  ORIGINAL: RETURN TO INMATE    CASE NUMBER:
  ---------_.i_.~e—~~_._.~---------------------
  Part C -RECEIPT
                                CASE NUMBER:

  Return to:
                          LAST NAME,FIRST, MIDDLE INITIAL                              REG. NO.                         UNIT                    INSTITUTION
  SUBJECT:


                  DATE                                                               SIGNATURE,
                                                                                                                                                           BP^230(13)
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      Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 52 of 70 Page ID #:52




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Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 53 of 70 Page ID #:53
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                      REJECTION NOTICE - ADMINISTRATIVE REMEDY


DATE: SEPTEMBER 20, 2018                                   ~~



               G-~                                               /
                                                                 ~,
FROM: ~NISTRATIVE REMEDY COORDINATOR
      WESTERN REGIONAL OFFICE

TO       GEECHIE DEVAIN TEMPLETON, 15422-031
         VICTORVILLE USP    UNT: 6 B    QTR: Z05-231T,An
         P.O. BOX 5400
         ADELANTO, CA 92301




FOR THE REASONS LISTED BELOW, THIS REGIONAL APPEAL
IS BEING REJECTED AND RETURNED TO YOU. YOU SHOULD INCLUDE A COPY
OF THIS NOTICE WITH ANY FUTURE CORRESPONDENCE REGARDING THE REJECTION.


REMEDY ID        951088-R1       REGIONAL APPEAL
DATE RECEIVED    SEPTEMBER 18, 2018
SUBJECT 1        REQUESTS FOR MONETARY COMPENSATION
SUBJECT 2        MEDICAL CARE - DELAY OR ACCESS TO
INCIDENT RPT N0:

REJECT REASON 1: CONCUR WITH R~ITIONALE OF REGIONAL OFFICE AND/OR INSTITUTION
                 FOR REJECTION. FOLLOW DIRECTIONS PROVIDED ON PRIOR REJECTION
                 NOTICES.




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          Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 54 of 70 Page ID #:54
      U.S. Department of Justice
                                                   Central Office Administrative Remedy Appeal
      Fe{ieral BuPcaur~~^ri~ons'


      Type or use ball-point pen. If attachments aze needed, submit four copies. One copy each of the
                                                                                                      completed BP-229(13) and BP-230(13), including any attach-
      ments must be submitted with this appeal.

      From:     /C/rI~LG ~~jLA~~Cl7Z~f,~                                        ~J YL ~~031                       s7/~'~'2J~                 ~/C~[~1r✓/ ~/e '~~P
                     LAST NAME,FIRST, MIDDLE INTI'IAL                                     REG.NO.                      lTNIT                      INSTITUTION
     Part A -REASON FOR APPEAL
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    Part B -RESPONSE


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                  DATE
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   ORIGINAL: RETURN TO INMATE
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   Part C -RECEIPT
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   Return to:
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   SUBJECT:


                 DATE                                                             SIGNATURE OF RECIPIENT OF CENTRAL OFFICE APPEAL
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Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 55 of 70 Page ID #:55
                                                                                      ~ ~a
                   REJECTION NOTICE - ADMINISTRATIVE REMEDY


                                                                                ~-;
DATE: OCTOBER 26, 2018




FROM: ADMINISTRATIVE REMEDY COORDINATOR
      CENTRAL OFFICE

TO    GEECHIE DEVAIN TEMPLETON, 15422-031
      COLEMAN I USP    UNT: C/D    QTR: DO1-112U
      P.O. BOX 1023
      COLEMAN, FL 33521




FOR THE REASONS LISTED BELOW, THIS CENTRAL OFFICE APPFAT ,
IS BEING REJECTED AND RETURNED TO YOU. YOU SHOULD INCLUDE A COPY
OF THIS NOTICE WITH ANY FUTURE CORRESPONDENCE REGARDING THE REJECTION.


REMEDY ID        951088-A1        CENTRAL OFFICE APPEAL
DATE RECEIVED    OCTOBER 18, 2018
SUBJECT 1        REQUESTS FOR MONETARY COMPENSATION
SUBJECT 2        MEDICAL CARE - DELAY OR ACCESS TO
INCIDENT RPT NO:

REJECT REASON 1: CONCUR WITH RATIONALE OF REGIONAL OFFICE AND/OR INSTITUTION
                 FOR REJECTION. FOLLOW DIRECTIONS PROVIDED ON PRIOR REJECTION
                 NOTICES.




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Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 56 of 70 Page ID #:56




                                   MILLS SURGERY CENTER
                                     OPERATIVE REPORT

         1~ATIENT NAME: TEMPLETON,GEECHI
         D~+►TE OF BIRTH: 10/08/1976
         lu~DICAL RECORD AT[)MBER: 440
         DATE OF SURGERY: 08/01/2018


          SURGEON:                                    DAI~TIEL L,EE, M.D.
          ANFSTHI~SIOLOGIST:                          NYUNT LWII~, M.D.
          ANESTHESIA:                                 GENERAL



         PREOPERATIVE DIAGNOSIS:                        Right 5'u metacarpal shaft fracture.


         POSTOPERATIVE DIAGNOSIS:                       Right 5'~ metacarpal shaft fracture.


         OPERATION PERFORMED:                           O~n reduction and internal fixation of right
                                                        5'~ metacarpal shaft fracture.

         AS3ISTANf: None.

         EBL: Minimal.

         NFLUIDS: See Anesthesia note.

         URINE OUTPUT: Not recorded

         DRAINS: ldone.

         SPECIlVIENS: None.

         COMPLICATIONS: None. .

         IMPLANTS: One 0.8-mm T-plate from Acumed plate was utilized with appropriate locking and
         nonlocicing screws.

          HISTORY AND Il~iDICA1'IONS: Mr. Templeton is a 41-year-old male, who sustained an
          injury to his right 5'L metacarpal shaft in an altercation. The patient actually reported seeing the
          bone poke through the skin. He was treated in the ER for IV antibiotics. He was then splinted;
          and we saw him fairly acutely as an outpatient. We recommender operative treatment The
          risks, benefits, and complications of the procedure were explained to the patient in detail. The
        . patient understood and gave informed consent

                                                      Page 1of 3
                                     -4480 Mills Circle, Ontario, CA 91764-5206
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    Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 57 of 70 Page ID #:57




                                        MII.LS SURGERY CENTER
                                          OPERATIVE REPORT

             PATIENT NAME: TEMPLETON,GEECHI
             DATE OF BIRTH: 10/08/1976
             N~DICAL~RF.CO~tD NiJMBER: 4~W
             DATE OF SURGERY: 08/01/2018



                                                                                                                       ing
                                                             The patient was identified in the preoperative hold
              DESCRIPTION OF TF~ PROCEDURE:                                                        ia  N  antib iotics
                                                                      ced under genea~aal anesthes
              area and brought ba~lc to the room. He was indu
                                                                         h correctly identified the patient and the site
              wes~e givean at this time. A timeout was called whic ing and the attending surgeon. Tourniquet
                                                                  ia, Nurs
              of surgery. This was agreed upon by Anesthes
              was inflated to 250 mmHg.
                                                                metacarpal. The skin and subcutaneous tissues were
              A 5-am incision was made overlying the 5~'
                                                                     mobilized. The fracbue site was then dew. It
              dissected through. Pxtensor tendons were then
                                                                    al butterfly fragmeart and a fairly shortdistal
               was a fairly oblique fractiue. There was a dors
                                                                 it using an axial K-wire placed through the
              fragment. However, we were able to reduce
               metacarpal head into the metacarpal base.
                                                               zed. The 0.8 plate was deemed to be most
               The T-plate from the Acumen set was utili
                                                                 screws would be proximal to the fracture site. It
               appropriate. It was then cut short so about 3
                                                                    bone. The position of the plate was checked
               was then placid upon~the dorsal surface of the
               under fluoroscopy.
                                                                    in order to get distal fixation of the plate to the
               A single nonlocking screw was placed distally
.                                                                    w proximally. 'Ibis allowed far rigid fixation of
               bone. This was followed by a nonlocking scre
               the fracaue.
                                                                dril;ed and filled in a standard fashion.'These were
               Two remaining proximal screws were then                                                                  d in
                   nloc king scre ws. The 2 dista l scre ws in the T component ofthe plate were drilled and fille
                no
                                                                 ocking screw which was somewhat long was
                standard locking fashion. The original nonl
                changed now to a locking screw as well.
                                                              at this time. Hemostasis was obtained. The tourniquet
                The wound was then thoroughly irrigated
                                                                        was anatomically reduced. It was stabilized
                 was letdown Final x-rays were taken. Fracture
                 with the~plate.




                                                              Page 2of3
                                              4480 Mills Circle. Ontario, CA 91764-520b
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    Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 58 of 70 Page ID #:58



                                      MII..LS SURGERY CENTER
                                        OPERATIVE REPORT

             PATIENT NAME: TEMPLETON,GEECHI
             DATE O~ BIRTH: 10/08/1976
             N~DICAL RECORD NUMBER: 440
             DATE OF SURGERY: 08/01/2018



i            The wound was then closed in layered fashion using 2-0 Vi~ryl,4-0 Vicryl, and 5-0 Monocryl
             suhues. Standard soft dressings were applied after the Marcaine was infiltrated for postoperative
             analgesia. The drapes were then taken doom. The patient was then placed in an ulnar gutter
             splint. He was then awoken and taken to thePACU in stable condition.




                                                                                         DANIEL:LEE,M.D.

             DUyve 080418-014
             D:08/04/201809:41:14
             T:08/04/2018 20:23:38




                                                       Page 3of3

                     .. _              4480 Mills Circle,
                                                                          ~
                                                          Ontario, CA 91764-5206


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Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 59 of 70 Page ID #:59




          Date &Tltne . 0 native Note

                        Pre-0 D     osts:


                        Post-0 Dta o5is:


                             five Procedure:           c




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                       Anesthe~a:                                 An~theslo

                       Blood Loss fluid man ernent       ,~,~1


                     . Complications to include management of com licatlons



                                  Signature                                             Time




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                          Post-Operative Note                                     r
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    Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 60 of 70 Page ID #:60

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                                                                    NULiS SURGERY CENTER
                                                                    HISTORY ARID PHYSICAL
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Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 61 of 70 Page ID #:61

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Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 62 of 70 Page ID #:62




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Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 63 of 70 Page ID #:63




                                MILLS SURGER Y CENy`ER
                          POST OPERATIVE CAREINSTRUCTIONS
     " Your Doctor wants to see you in f / da /week(s)Please call
        for r aPpointm~ent.
            rve the operative site for signs of infection: ,~f~ver of 101 or higher
       (These signs and symptoms usually become             ~6c~essive pain
        apparept in 36-48hours after surgery)              ~Aedness or suvetNng
       ~                                                      Fou!odor or drainage
       Some bleeding is normal. Report IXCESSIVE bleeding to your doctor!!
      ✓"Keep operative area clean and dry.
    ,_.~ou may remove the dressing .~~days, ~r until you are seen by your physkian.
        Keep the extremity elevated on a couple of pillows for the next few days.(Above the level of the
        hea if possible)
    _~,, ptyice pack (or cold therapy unit) to operative site as directed. ,2m ~,;,,.~,;~           l..~ ~2    ,
          ll your prescriptions and start medication as the label directs.
        No aspirin or aspirin containing medication such as Empirin,~Anacin, Excedrin or Bufferin
        T enol or Extra strength Tylenol may be taken.
            TubBaths until you have seen your doctor.
        Diet: start slow with liquids-soup, juice, crackers and jelto, if you tolerate these without nausea,
        then start on regular food.(Do not start with orry spicy or greasy foods as this mny cause
     •    nausea)                                                           ~            ~...
    BECAUSE ANESTHETIC MEDICATIOP! WILL BE IN YOUR BODY FOR THE NEXT 24 HOURS DO NOT
         o     Drive a car, operate mach9nery or power tools
         o     Drink alcoholic beverages.
         o     Make important decisions or sign any legal paper►~c.
         o     Remain alone. You need to have a responsible adult with you.




    ❑:aRM SLING: ~YIaN               ❑LEF"f            ❑RIGHT




   Patient (9       U~,
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   Responsible                                                                  ~-~~ ~g obi ~


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                 Mills Surgery Center                      DOBt~~n;'~','s'~~'
                 (ORTFiO post op insV)                          °~'°'~"~°•
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     Case 5:19-cv-00813-FWS-AGR Document 1 Filed 04/30/19 Page 64 of 70 Page ID #:64



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                                                 Bureau of Prisons
                                                  Health Services
                                     Clinical Encounter -Administrative Note
 Inmate Name:        TEMPLETON, GEECHIE DEVAIN                                              Reg #:         15422-031
 Date of Birth:      10/08/1976               Sex:      M    Race:BLACK                     Facility:      VIP
 Note Date:          07/26/2018 08:38         Provider: Esquetini, Jose PA-C                Unit:          Z05

Admin Note -Orders encounter performed at Health Services.
Administrative Notes:
     ADMINISTRATIVE NOTE 1               Provider: Esquetini, Jose PA-C
          Seen at ER yesterday with appointment tomorrow for casting

New Consultation Requests:
   Consultation/Procedure                        Target Date Scheduled Target Date Priori               Translator   Language
   Orthopedist                                   07/27/2018 07/27/2018             Emergent             No
         Subtype:
              Other non-surgical Offsite appt, NOS
           Reason for Request:
               Pte seen at ER for fracture of 5th metacarpal. Follow up appointment tomorrow for casting.
           Provisional Diagnosis:
                Fracture 5th metacarpal right hand.
Copay Required: No                            Cosign Required: Yes
TelephoneNerbalOrder: No
Completed by Esquetini, Jose PA-C on 07/26/2018 08:44
Requested to be cosigned by Peikar, Nader MD/CD.
Cosign documentation will be displayed on the following page.




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